
Proceeding pursuant to CPLR article 78 (transferred to the Appellate Division of the Supreme Court in the Fourth Judicial Department by order of the Supreme Court, Erie County [Shirley Troutman, J.], entered September 14, 2012) to review a determination of respondent New York State Office of Children and Family Services. The determination denied petitioner’s application to amend the indicated report of maltreatment to an unfounded report.
Now, upon reading and filing the stipulation of discontinuance signed by petitioner on March 28, 2013, and by the attorneys for the parties on March 20, 28 and 29, and April 3, 2013,
It is hereby ordered that said proceeding is unanimously dismissed without costs upon stipulation. Present — Smith, J.P., Fahey, Carni, Valentino and Whalen, JJ.
